     2:16-cv-02944-DCN         Date Filed 10/03/16     Entry Number 20       Page 1 of 13




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

KRISTIE ALLEN, INDIVIDUALLY AND               ) CIVIL ACTION NO.: 2:16-cv-02944-DCN
AS PERSONAL REPRESENTATIVE OF                 )
THE ESTATE OF BRIAN ALLEN,                    )
                                              )
                      Plaintiff,              )
                                              )
                                                 L&B TRANSPORT, LLC’S ANSWER TO
v.                                            )
                                                      PLAINTIFF’S COMPLAINT
                                              )
AXEON SPECIALTY PRODUCTS, LLC;                )
                                                      (JURY TRIAL DEMANDED)
SULFIDE SYSTEMS, LLC; KEMPER                  )
INDUSTIRES, INC.; DRK CHEMICAL                )
PRODUCTS COMPANY, INC.; AKZO                  )
NOBEL FUNCTIONAL CHEMICALS                    )
LLC; COLONIAL CHEMICAL                        )
SOLUTIONS, INC.; L&B TRANSPORT,               )
LLC; YOUNG TRANSPORT, LLC; and                )
QUALITY CARRIERS, INC.,                       )
                                              )
                     Defendants.              )
                                              )

        Defendant L&B Transport, LLC (“L&B” or “Defendant”), by and through undersigned

counsel, hereby answers Plaintiff’s Complaint as follows:

        1.    Each and every allegation of Plaintiff’s Complaint not specifically admitted or

modified below is hereby denied.

                                   AS TO FACTS OF THE CASE

        2.    Paragraphs 1 through 30 of Plaintiff’s Complaint are denied.

                  AS TO THE PARTIES, JURISDICTION, AND VENUE

        3.    Defendant is without sufficient knowledge or information to admit or deny the

allegations contained in Paragraphs 31 and 32 of Plaintiff’s Complaint, and therefore, must deny

same.
     2:16-cv-02944-DCN          Date Filed 10/03/16       Entry Number 20           Page 2 of 13




          4.    Paragraphs 33 through 38 of Plaintiff’s Complaint do not contain allegations

against this Defendant, and therefore, no response is required. To the extent factual allegations

affecting this Defendant may be contained therein, they are denied.

          5.    Paragraph 39 of Plaintiff’s Complaint is admitted only to the extent it alleges

L&B is a foreign limited liability company. All remaining allegations of Paragraph 39 are

denied.

          6.    Paragraphs 40 and 41 of Plaintiff’s Complaint do not contain allegations against

this Defendant, and therefore, no response is required. To the extent factual allegations affecting

this Defendant may be contained therein, they are denied.

          7.    Paragraphs 42 and 43 of Plaintiff’s Complaint contain conclusions of law to

which no response is required. To the extent a response is required, Paragraphs 42 and 43 of

Plaintiff’s Complaint are denied.

                                  CONDITIONS PRECEDENT

          8.    Paragraph 44 of Plaintiff’s Complaint is denied.

                                     CLAIMS FOR RELIEF

                           AS TO THE FIRST CAUSE OF ACTION
                              Products Liability: Strict Liability
                                  (Against All Defendants)

          9.    Defendant repeats and reiterates the responses contained in the above-paragraphs

as if fully set fort herein in response to Paragraph 45 of Plaintiff’s Complaint.

          10.   Paragraphs 46 through 59 of Plaintiff’s Complaint are denied, including all

subparts.




                                                  2
     2:16-cv-02944-DCN          Date Filed 10/03/16       Entry Number 20           Page 3 of 13




                        AS TO THE SECOND CAUSE OF ACTION
                              Gross Negligence and Negligence
            (Against Axeon Supply Defendants and Akzo Nobel Supply Defendants)

       11.     Defendant repeats and reiterates the responses contained in the above-paragraphs

as if fully set fort herein in response to Paragraph 60 of Plaintiff’s Complaint.

       12.     Paragraphs 61 through 73 of Plaintiff’s Complaint are not directed at L&B and

therefore, no response is required. To the extent allegations against L&B are contained therein,

these paragraphs are denied, including all subparts.

                         AS TO THE THIRD CAUSE OF ACTION
                             Products Liability: Failure to Warn
               (Against All Axeon Supply and Akzo Nobel Supply Defendants)

       13.     Defendant repeats and reiterates the responses contained in the above-paragraphs

as if fully set fort herein in response to Paragraph 74 of Plaintiff’s Complaint.

       14.     Paragraphs 75 through 82 of Plaintiff’s Complaint are not directed at L&B and

therefore, no response is required. To the extent allegations against L&B are contained therein,

these paragraphs are denied, including all subparts.

                         AS TO THE FOURTH CAUSE OF ACTION
                                         Negligence
                        (Against Defendants L&B, Young and Quality)

       15.     Defendant repeats and reiterates the responses contained in the above-paragraphs

as if fully set fort herein in response to Paragraph 83 of Plaintiff’s Complaint.

       16.     Paragraphs 84 through 91 of Plaintiff’s Complaint are denied, including all

subparts.

                    AS TO THE REQUEST FOR PUNITIVE DAMAGES

       17.     Defendant repeats and reiterates the responses contained in the above-paragraphs

as if fully set fort herein in response to Paragraph 92 of Plaintiff’s Complaint.



                                                  3
     2:16-cv-02944-DCN            Date Filed 10/03/16        Entry Number 20         Page 4 of 13




        18.     Paragraphs 93 through 95 of Plaintiff’s Complaint are denied.

                               AS TO THE PRAYER FOR RELIEF

        19.     Paragraph 96 of Plaintiff’s Complaint, referred to herein as The Prayer for Relief

and/or Wherefore Paragraph, is denied, including all subparts.

                            FOR A FIRST AFFIRMATIVE DEFENSE
                             (Unconstitutionality of Punitive Damages)

        20.     The imposition of punitive or exemplary damages against the Defendant would

violate its constitutional rights under the Due Process clauses in the Fifth and Fourteenth

Amendments to the Constitution of the United States, the Excessive Fines clause in the Eighth

Amendment to the Constitution of the United States, the Double Jeopardy clause in the Fifth

Amendment to the Constitution of the United States, similar provisions in applicable State

Constitutions, and/or the common law and public policies of pertinent States, and/or applicable

statutes and court rules, in the circumstances of this litigation, including but not limited to:

                a.      imposition of such punitive damages by a jury which (1) is not provided

        standards of sufficient clarity for determining the appropriateness, and the appropriate size,

        of such a punitive damages award, (2) is not adequately and clearly instructed on the limits

        on punitive damages imposed by the principles of deterrence and punishment, (3) is not

        expressly prohibited from awarding punitive damages, or determining the amount of an

        award thereof, in whole or in part, on the basis of invidiously discriminatory characteristics,

        including the corporate status, wealth, or state or residence of the Defendant, (4) is permitted

        to award punitive damages under a standard for determining liability for such damages

        which is vague and arbitrary and does not define with sufficient clarity the conduct or

        mental state which makes punitive damages permissible, and (5) is not subject to trial court




                                                    4
     2:16-cv-02944-DCN          Date Filed 10/03/16      Entry Number 20         Page 5 of 13




       and appellate judicial review for reasonableness and the furtherance of legitimate purposes

       on the basis of objective standards;

              b.      imposition of such punitive damages, and determination of the amount of an

       award thereof, where applicable state law is impermissibly vague, imprecise, or inconsistent;

              c.      imposition of such punitive damages, and determination of the amount of an

       award thereof, employing a burden of proof less than clear and convincing evidence;

              d.      imposition of such punitive damages, and determination of the amount of an

       award thereof, without bifurcating the trial and trying all punitive damages issues only if and

       after the liability of Defendant has been found on the merits;

              e.      imposition of such punitive damages, and determination of the amount of

       an award thereof, under any state's law subject to no predetermined limit, such as a

       maximum multiple of compensatory damages or a maximum amount;

              f.      imposition of such punitive damages, and determination of the amount of

       any award thereof, based on anything other than Defendant’s conduct in connection the

       incident alleged in this litigation, or in any other way subjecting Defendant to

       impermissible multiple punishment for the same alleged wrong; and/or

              g.      imposition of punitive damages by the jury as opposed to the Court, as the

       issues of the imposition and amount of punitive damages are matters of constitutional fact

       that must be determined by the Court, not the jury.

                         FOR A SECOND AFFIRMATIVE DEFENSE
                   (Sole, Superseding and Intervening Negligence of Others)

       21.     Plaintiff’s damages, if any, which this Defendant expressly denies, were due to

and caused by the sole intervening and superseding negligence of others and/or other forces, over

whom Defendant had no control, so as to bar the claims against Defendant.

                                                 5
     2:16-cv-02944-DCN           Date Filed 10/03/16      Entry Number 20       Page 6 of 13




                           FOR A THIRD AFFIRMATIVE DEFENSE
                                  (Comparative Negligence)

          22.    Plaintiff’s claims, if any, are barred, or should be reduced, by Plaintiff’s own

contributory and comparative negligence and recklessness which combined, contributed, and

concurred with any alleged negligence on the part of Defendant, if any, and which is expressly

denied.

                           FOR A FOURTH AFFIRMATIVE DEFENSE
                (Sole, Intervening and Superseding Negligence of Plaintiff/Others)

          23.    Plaintiff’s damages, if any, were due to and caused by the sole intervening and

superseding negligence, willfulness, wantonness and recklessness of the Plaintiff and/or others,

over whom Defendant had no control, as to bar the claims against Defendant.

                           FOR A FIFTH AFFIRMATIVE DEFENSE
                                    (Failure to Mitigate)

          24.    The injuries and/or damages alleged by the Plaintiff, which are hereby specifically

denied, were caused and/or aggravated by the Plaintiff’s failure to mitigate. Such a failure to

mitigate is a complete bar to the Plaintiff’s recovery.

                           FOR A SIXTH AFFIRMATIVE DEFENSE
                                   (Statute of Limitations)

          25.    That some or all of the claims asserted against the Defendant are barred by the

applicable statute of limitations.

                         FOR A SEVENTH AFFIRMATIVE DEFENSE
                                 (Lack of Proximate Cause)

          26.     Defendant alleges that any alleged conduct or omission by Defendant was not the

cause in fact or proximate cause of any injury alleged by Plaintiff.




                                                  6
     2:16-cv-02944-DCN          Date Filed 10/03/16       Entry Number 20         Page 7 of 13




                        FOR AN EIGHTH AFFIRMATIVE DEFENSE
                                  (Assumption of Risk)

       27.     That this Defendant would show that the Plaintiff, by and through his actions

and/or inactions with regard to the subject alleged in the Complaint, has assumed the risk and/or

accepted all portions of any damages alleged by the Plaintiff and such assumption of risk and/or

acceptance is a bar to claims against the Defendant.

                          FOR A NINTH AFFIRMATIVE DEFENSE
                               (Good Faith and Reasonable)

       28.     The Defendant acted in good faith and in a reasonable manner at all relevant times

which acts as a complete defense to this action.

                         FOR AN TENTH AFFIRMATIVE DEFENSE
                                  (Open and Obvious)

       29.     The condition described by the Plaintiff in the Complaint was or should have been

open and obvious to the Plaintiff, and therefore, Plaintiff’s claims should be dismissed.

                      FOR AN ELEVENTH AFFIRMATIVE DEFENSE
                                  (Lack of Notice)

       30.     Defendant did not have actual or constructive notice of the allegedly defective

condition, nor did it cause the alleged condition, therefore, Plaintiff’s claims are barred.

                        FOR A TWELFTH AFFIRMATIVE DEFENSE
                                     (Set-Off)

       31.     Any recovery by Plaintiff must be reduced or offset by amounts Plaintiff has

received or will recover from others for same injuries and/or damages claimed in this suit.

                      FOR A THIRTEENTH AFFIRMATIVE DEFENSE
                             (Laches, Waiver, and Estoppel)

       32.     Plaintiff's claims are barred by the doctrines of laches, waiver and/or estoppel.




                                                   7
      2:16-cv-02944-DCN          Date Filed 10/03/16     Entry Number 20        Page 8 of 13




                       FOR A FOURTEENTH AFFIRMATIVE DEFENSE
                                   (Proper Warning)

          33.   Defendant took safety precautions and gave proper warning of any foreseeable risk.

                           FOR A FIFTEENTH AFFIRMATIVE DEFENSE
                                       (Sole Negligence)

          34.   That even if Plaintiff was damaged as alleged, which is denied, such damages

were solely due to, resulted from, and caused by the negligence, carelessness, recklessness,

willfulness, and wantonness of Plaintiff and/or third parties over which this Defendant had no

control

                           FOR A SIXTEENTH AFFIRMATIVE DEFENSE
                                         (Accident)

          35.   Defendant asserts that the accident, which is the subject of this litigation, was an

unavoidable accident, thereby precluding the Plaintiff’s claim of negligence.

                           FOR A SEVENTENTH AFFIRMATIVE DEFENSE
                                    (Manipulation of Product)

          36.   After the product in question left the possession and control of this Defendant and

without this Defendant’s knowledge or approval, the product was redesigned, modified, altered,

or subjected to treatment that substantially changed its character. Any alleged defect in the

product resulted, if at all, from the redesign, modification, alteration, treatment, or other change

of the product after this Defendant relinquished possession and control over the product. Such

redesign, modification, alteration, treatment or other change was a superseding/intervening cause

of plaintiff’s injuries.




                                                 8
     2:16-cv-02944-DCN            Date Filed 10/03/16   Entry Number 20      Page 9 of 13




                   FOR AN EIGHTEENTH AFFIRMATIVE DEFENSE
                (Compliance with Standard of Care and Industry Standards)

       37.     Defendant exercised that degree of skill and care required of it by law and any

industry standards/customs at all times relevant to the matters complained of in Plaintiff’s

Complaint.

                      FOR A NINETEENTH AFFIRMATIVE DEFENSE
                                 (No Proximate Cause)

       38.     Even if Defendant L&B Transport was negligent as alleged in the Complaint,

which is specifically denied, L&B Transport’s negligence is not the direct or proximate cause of

any injury the Plaintiffs allege, and therefore L&B Transport is not liable for any damages the

Plaintiffs allegedly sustained.

                        FOR A TWENTIETH AFFIRMATIVE DEFENSE
                             (No Duty to Warn of the Unknowable)

       39.     This Defendant had no duty to warn about possible dangers (if any) in using the

product it transported which were not known at the time of transport.

                    FOR A TWENTY-FIRST AFFIRMATIVE DEFENSE
                                (Last Clear Chance)

       40.     Plaintiff had the last clear chance to avoid the alleged accident and is therefore

barred from recovery.

                   FOR A TWENTY-SECOND AFFIRMATIVE DEFENSE
                             (Superseding Intervention)

       41.     If Plaintiff sustained any injuries or incurred any damages, the same were caused

in whole or in part by the acts or omissions of persons other than this Defendant over whom this

Defendant had and has no control, or by the superseding interventions or causes outside of

control of this Defendant.




                                                9
    2:16-cv-02944-DCN          Date Filed 10/03/16      Entry Number 20        Page 10 of 13




                     FOR A TWENTY-THIRD AFFIRMATIVE DEFENSE
                                (Idiosyncratic Reaction)

       42.     Plaintiff's alleged injuries and/or damages, if any, were not the result of any act or

omission on the part of this Defendant, but exist by reason of operation of nature or idiosyncratic

reaction, over which this Defendant had and has no control.

                    FOR A TWENTY-FOURTH AFFIRMATIVE DEFENSE
                                  (Misuse/Abuse)

       43.     Any injuries and damages sustained by Plaintiff were the result of the misuse

and/or abuse of Defendants' product delivered by Defendant pursuant to South Carolina Code

Section 15-23-20.

                     FOR A TWENTY-FIFTH AFFIRMATIVE DEFENSE
                                  (State of the Art)

       44.     Any and all acts performed by, and products manufactured and/or distributed by,

these Defendants were at all times relevant hereto in conformity with the state of the art for the

manufacture and design of such or similar products.

                     FOR A TWENTY-SIXTH AFFIRMATIVE DEFENSE
                      (Product Not Defective or Unreasonably Dangerous)

       45.     The product transported by Defendant was not defective nor unreasonably

dangerous and reached the Plaintiff/Defendants without change in the condition in which it was

transported.

                    FOR A TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                           (Change in Conditions of the Product)

       46.     If, after the product in question left the possession and control of this Defendant,

and without this Defendant’s knowledge or approval, the product was modified or altered or

subjected to treatment that substantially changed its character and condition, then the alleged

defect, as set forth in the Complaint, resulted from the modification, alteration or treatment or

                                                10
    2:16-cv-02944-DCN          Date Filed 10/03/16      Entry Number 20        Page 11 of 13




other change of the product after this Defendant relinquished possession and control over it and

not from any act or omission of this Defendant.

                      FOR A TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                            (Exclusivity of Workers’ Compensation)

       47.     Defendant would plead the exclusivity of the Workers’ Compensation Doctrine as

a complete bar to the Plaintiff’s claims against this Defendant.

                      FOR A TWENTY-NINTH AFFIRMATIVE DEFENSE
                                      (Contract)

       48.     Upon information and belief, language within the agreement for transport may

serve as a bar to this lawsuit to the extent it contains release/waiver language which may serve as

a bar to the claim.

                        FOR A THIRTIETH AFFIRMATIVE DEFENSE
                                   (Lack of Standing)

       49.     Plaintiff lacks standing to bring these causes of action against Defendant as this

Defendant owes no legal duty to Plaintiff. Therefore, this action must fail and should be

dismissed as to this Defendant.

                      FOR A THIRTY-FIRST AFFIRMATIVE DEFENSE
                                 (Spoliation of Evidence)

       50.     Plaintiff’s claims are barred by the doctrine of spoliation of evidence.

                      FOR A THIRTY-SECOND AFFIRMATIVE DEFENSE
                          (Incorporation of Defenses Raised By Others)

       51.     Defendant hereby incorporates the defenses raised by any other Defendant to the

extent said defenses might be applicable to it.




                                                  11
    2:16-cv-02944-DCN          Date Filed 10/03/16      Entry Number 20        Page 12 of 13




                    FOR A THIRTY-THIRD AFFIRMATIVE DEFENSE
                                (Additional Defense)

       52.     The Defendant hereby gives notice that it intends to rely upon such other

affirmative defenses as may become available or apparent during the course of discovery and

thus reserves the right to amend its answer to assert any such defenses.

       WHEREFORE, Defendant L&B Transport, LLC, prays that this Court dismiss all claims

against it with prejudice, grant it reasonable attorney’s fees and costs, and for any such other and

further relief this Court may deem just and proper. Defendant demands a trial by jury.

                                              LUZURIAGA MIMS, LLP


                                              By: /s/ Kevin W. Mims_____________
                                              Kevin W. Mims; Federal Bar No.: 07883
                                              Randell C. Stoney III; Federal Bar No.: 12089
                                              50 Immigration St, Suite 200
                                              Charleston, SC 29403
                                              (843) 410-4713
                                              kmims@lmlawllp.com
                                              rstoney@lmlawllp.com

                                              Attorneys for Defendant L&B Transport, LLC

Charleston, South Carolina

October 3, 2016




                                                12
    2:16-cv-02944-DCN         Date Filed 10/03/16      Entry Number 20        Page 13 of 13




                                CERTIFICATE OF SERVICE

I hereby certify that on the _3rd _ day of __October__, 2016, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to the following

Attorneys for Plaintiff

Marlon E. Kimpson (D.S.C. Bar No. 7487)        Clarence William McGee
mkimpson@motleyrice.com;                       bmcgee@gwblawfirm.com
pfunderburk@motleyrice.com                     Kyle Jason White
William P. Tinkler (D.S.C. Bar No. 11794)      Kwhit4e@gwblawfirm.com;
wtinkler@motleyrice.com;                       ctowers@gwblawfirm.com
lshaarda@motleyrice.com
Motley Rice LLC                                Duke Raleigh Highfield
28 Bridgeside Boulevard                        dhighfield@ycrlaw.com; sbrennan@ycrlaw.com;
Mt. Pleasant, C 29464                          mcattles@ycrlaw.com;
                                               checkrequest@ycrlaw.com; lhall@ycrlaw.com;
James Payne (pro hac vice pending)             pmorris@ycrlaw.com; lruddy@ycrlaw.com;
jpayne@pulf.com                                bhorton@ycrlaw.com; tbugg@ycrlaw.com;
Matthew Matheny (pro hac vice pending)         bsweeny@ycrlaw.com
mmatheny@pulf.com
Provost Humphrey Law Firm, LLP                 Ashley Kutz Kelley
490 Park Street                                akelley@wcsr.com; ccerchione@wcsr.com
P.O. Box 4905
Beaumont, TX 77704



And I hereby certify that I will mail the documents by U.S. Mail to the following non-filing user:




                                               By: /s/ Kevin W. Mims_____________
                                               Kevin W. Mims; Federal Bar No.: 07883
                                               Randell C. Stoney III; Federal Bar No.: 12089
                                               50 Immigration St, Suite 200
                                               Charleston, SC 29403
                                               (843) 410-4713
                                               kmims@lmlawllp.com
                                               rstoney@lmlawllp.com




                                               13
